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               UNITED STATES BANKRUPTCY COURT
               DISTRICT OF DELAWARE




               A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee hereby gives
               evidence and notice pursuant to Rule 3001(e)(2) of the Federal Rules of Bankruptcy Procedure of the transfer, other
               than for security, of the claim referenced in this evidence and notice

                Name of Transferor:                                         Name of Transferee:
                Wireless Mouse, LLC                                         Grand Teton C I, LLC


                Name and Current Address of Transferor:                     Name and Address where notices and payments
                Wireless Mouse, LLC,                                        to transferee should be sent:
                2120 University Avenue, #607,                                1509 Bent Ave.,
                Berkeley, CA - 94704                                         Cheyenne, WY 82001
                as Transferee of     [ Redacted ]

                 [ Redacted ]




                Claim No./Schedule               Original Creditor Name        Amount                  Debtor

                Kroll Schedule:                  [ Redacted ]                  Described on Schedule   FTX Trading Ltd.
                221106806829394                                                F                       (d/b/a "FTX")
                                                                                                       (Case No. 22-11068)
                Debtor Schedule F:
                01610564

                Claim No.                        [ Redacted ]                  Described on Schedule   FTX Trading Ltd.
                53459                                                                                  (d/b/a "FTX")
                                                                               F                       (Case No. 22-11068)




               I declare under penalty of perjury that the information provided in this notice is true and correct to the
               best of my knowledge and belief.


               Name: Michael Bottjer                                      Signature:

               Transferee / Transferee’s Agent
               Date: 9/14/2024
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               Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C.
               §§ 152 & 3571.

                                                       EVIDENCE OF TRANSFER OF CLAIM

               TO: Clerk, United States Bankruptcy Court, Southern District of New York, for good and valuable consideration,
               the receipt and sufficiency of which are hereby acknowledged, Wireless Mouse, LLC has unconditionally and
               irrevocably sold, transferred and assigned to Grand Teton C I, LLC its successors and assigns, all right, title and
               interest in and to the claim(s) identified below, against FTX Trading LTD et al.



                Schedule F #:                                                     01610564


                Claim Amount:                                                    as detailed on Schedule F


               Seller hereby waives any notice or hearing requirements imposed by Rule 3001 of the Federal Rules of
               Bankruptcy Procedure, and stipulates that an order may be entered recognizing this Evidence of Transfer
               of Claim as an unconditional assignment and Buyer as the valid owner of the claim.

               You are hereby requested to make all future payments and distributions, and to give all notices and other
               communications in respect of the claim, to Buyer.



               Date:9/14/2024




                BUYER:                                                           SELLER:
                 Grand Teton C I, LLC                                             Wireless Mouse, LLC




                Name: Michael Bottjer                                            Name: Lingtong Sun
                Email: claims@ftxcreditor.com                                    Email: lt@ftxcreditor.com
                Title: President                                                 Title: Agent
